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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR        BROWN RUDNICK LLP
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     In Re:                                                     Chapter 11

     LTL MANAGEMENT, LLC,1                                      Case No.: 21-30589 (MBK)

                              Debtor.                           Honorable Michael B. Kaplan



                      NOTICE OF APPEAL AND STATEMENT OF ELECTION


 Part 1: Identify the Appellant(s)

              1.    Names(s) of appellant(s): The Official Committee of Talc Claimants I.2

              2.    Position of appellant(s) in the bankruptcy case that is the subject of this

 appeal: Appellant is an official committee of tort claimants in the underlying bankruptcy case.

 Appellant is also an interested party and an objector with respect to the Debtor’s Application for

 Retention of Skadden, Arps, Slate, Meager & Flom LLP (Dkt. No. 832).

 Part 2: Identify the subject of this appeal

              1.    Describe the judgment, order, or decree appealed from: Appellant, pursuant to

 28 U.S.C. § 158(a) and Federal Rules of Bankruptcy Procedure 8001(a), hereby gives notice of

 appeal to the United States District Court for the District of New Jersey from each and every part


 1     The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is 501 George
       Street, New Brunswick, New Jersey 08933.
 2     The Objection of Official Committee of Talc Claimants to Application for Retention of Skadden, Arps, Slate,
       Meager & Flom LLP (Dkt. 955) was filed by the original Official Committee of Talc Claimants (the “Original
       TCC”) on December 22, 2021. On December 23, 2021, the Official Committee of Talc Claimants I (“TCC I”)
       and Talc Claimants II (“TCC II”) were appointed in place of the Original TCC. Dkt. 965. All pleadings and
       motions filed by the Original TCC were deemed to be filed by each of TCC I and TCC II. Dkt. 1226. On January
       26, 2022, the Bankruptcy Court reinstated the Original TCC and dissolved TCC I and TCC II, but stayed the
       effect of its order through March 8, 2022. Dkt. 1273. On March 8, 2022, the Court issued a bench ruling
       extending that stay through and including April 12, 2022. During the March 8 hearing, the parties agreed to
       stipulate that the filings by TCC I and TCC II will be deemed to have been filed by the Original TCC if the
       Original TCC is reinstated in the future.




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 of the Order Authorizing Retention of Skadden, Arps, Slate, Meagher & Flom LLP (Dkt. 1687)

 (the “Order”, annexed hereto as Exhibit A) and the Amended Order Authorizing Retention of

 Skadden, Arps, Slate, Meagher & Flom LLP (Dkt. 1736) (the “Amended Order”, annexed hereto

 as Exhibit B), entered by the United States Bankruptcy Court for the District of New Jersey.

        2.     State the date on which the judgment, order, or decree was entered: The Order

 was entered on March 10, 2022 and the Amended Order was entered on March 16, 2022.

 Part 3: Identify the other parties to the appeal:

 List the names of all parties to the judgment, order, or decree appealed from and the names,

 addresses, and telephone numbers of their attorneys:

                   Party                                         Attorneys
  Appellant/interested party/objector: the   GENOVA BURNS LLC
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  Interested party/objector: United States   THE OFFICE OF THE UNITED STATES
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                                             Jeffrey M. Sponder, Esq.
                                             Lauren Bielskie, Esq.
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 Part 4: Not Applicable (No BAP in this District)

 Part 5: Signature


  DATED this 16th day of March 2022.
                                                  Respectfully submitted,

                                                  GENOVA BURNS, LLC



                                                  By: ________________________________
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